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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY

     ERIC VARGAS, individually, and on behalf of
                                                               No.:
     a class of similarly situated individuals,

                      Plaintiff,
                                                               CLASS ACTION COMPLAINT
               v.                                              AND JURY TRIAL DEMAND

     REY Logistics Inc.,

                      Defendant.

               Plaintiff Eric Vargas brings this action against Rey Logistics Inc. (“REY Logistics” or

     “Defendant”), by and through his attorneys, individually and behalf of all others similarly

     situated (“Class Members”). Plaintiff’s allegations as to his own actions are based on personal

     knowledge. The other allegations are based on his counsel’s investigation, and information and

     belief.




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                                          INTRODUCTION

            1.     Plaintiff, individually and as a class representative for all others similarly

     situated, brings this action against Defendant for violations of the Telephone Consumer

     Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) for unsolicited telemarketing calls made by

     or on behalf of Defendant. Plaintiff, individually, and for Class Members, seek an injunction

     and an award of statutory damages to Class Members under the TCPA, together with costs

     and reasonable attorneys’ fees.

                                              PARTIES

            2.     Plaintiff Eric Vargas is a natural person.     Mr. Vargas was a resident of

     Ridgefield Park, New Jersey at all times during the events alleged in the Complaint. At all

     relevant times Mr. Vargas was the user, subscriber, owner and possessor of the cellular

     telephone number 201-647-XXXX. Mr. Vargas has never engaged in any business with

     Defendant, and does not nor has he ever had a business relationship with Defendant. Mr.

     Vargas has never provided consent to Defendant – implied, oral, written, or otherwise – to

     call him for any reason. Defendant has placed telemarketing text messages to Mr. Vargas’s

     cellphone numerous times between 2020 and continuing to the present. Each time Defendant

     texted Mr. Vargas, the text message was a solicitation to apparently join Defendant as a

     trucking employee or contractor. Defendant’s text messages would end with “Text STOP to

     end,” and Mr. Vargas would consistently reply “Stop” in an attempt to get Defendant to stop

     calling or texting him in the future. However, Defendant continued to text Mr. Vargas

     solicitation text messages of the same nature, often from different phone numbers. The texts

     to Mr. Vargas’ cellphone from Defendant have been an extreme nuisance, and have been a

     repeated invasion of his privacy.      Plaintiff has attached as Exhibit A examples of




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     telemarketing text messages that Defendant made to Plaintiff’s cell phone, as well as

     Plaintiff’s responses thereto.

            3.      Defendant Rey Logistics Inc. is, and at all relevant times was, a corporation

     organized under the laws of the State of Pennsylvania, with a principal place of business

     located at 1300 Industrial Blvd STE 212, Southampton, PA 18966, and is a “person” as

     defined by 47 U.S.C. §153 (39). Defendant is in the business of trucking, working with truck

     drivers to deliver goods throughout the continental United States. Defendant seeks out truck

     drivers through the use of telemarketing calls and text messages at issue in this action using

     an automated system for the selection or dialing of telephone numbers.

                                      JURISDICTION AND VENUE

            4.      The Court has federal subject matter jurisdiction under 47 U.S.C. § 227. Cf.

     Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368 (2012).

            5.      This Court has jurisdiction over Defendant, because it does business in the

     State of New Jersey, and because the wrongful acts alleged in this Complaint were

     committed in or emanated from New Jersey.

            6.      Venue is also proper before this Court under 28 U.S.C. § 1391(b)(2) because a

     substantial part of the events or omissions giving rise to the claim occurred in this District.

                                THE TELEPHONE CONSUMER
                            PROTECTION ACT OF 1991, 47 U.S.C. § 227

            7.      In 1991, Congress enacted the TCPA in response to a growing number of

     consumer complaints regarding certain telemarketing practices. Congress found that

     “automated and prerecorded calls are a nuisance and an invasion of privacy, regardless of the

     type of call,” and decided that “banning” such calls made without consent was “the only

     effective means of protecting telephone consumers from the nuisance and privacy invasion.”



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     Pub. L. No. 102-243, §§ 2 (10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227. See also

     Mims v. Arrow Fin. Services, LLC, 565 U.S. 368 (2012) (“The Act bans certain invasive

     telemarketing practices”).

            8.      The text messages that Defendant sent to Plaintiff constituted “calls” under the

     TCPA that were not for emergency purposes as defined by 47 U.S.C. § 227 (b)(1)(A)(i).

            9.      These calls were made to promote Defendant’s goods and services.

            10.     These unsolicited text messages were placed to Plaintiff’s cellular phone using

     an “automatic telephone dialing system” (“ATDS”)—as defined by 47 U.S.C. § 227 (a)(1)

     and as prohibited by 47 U.S.C. § 227 (b)(1)(A)—which had the capacity to store or produce

     and dial numbers randomly or sequentially, and to place telephone calls and/or SMS or text

     messages to Plaintiff’s cellular telephone.

            11.     The Federal Communications Commission (“FCC”) has promulgated

     regulations under the TCPA which also require that sellers and telemarketers maintain an

     “internal do-not-call list” (“IDNC” list) — i.e., a “list of persons who request not to receive

     telemarketing calls made by or on behalf of that [seller]” — and further prohibits sellers from

     “initiat[ing] any call for telemarketing purposes to a residential telephone subscriber unless

     such person or entity has instituted procedures for maintaining a list of persons who request

     not to receive telemarketing calls by or on behalf of that person or entity[.]” 47 C.F.R. §

     64.1200(d). Cf. 47 U.S.C. § 227(b)(1). Here, Defendant both does not adequately maintain a

     list of persons that request not to receive telemarketing calls, and does not consistently or

     routinely honor requests not to be call even for those persons – like Plaintiff and other class

     members – that request to be added to the do not call list.

            12.     The FCC’s regulations “generally establish that the party on whose behalf a




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     solicitation is made bears ultimate responsibility for any violations.” In the Matter of Rules

     and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10 FCC Rcd. 12391,

     12397, ¶ 13 (1995). The FCC reiterated this principle in 2013, when it explained that “a

     seller …. may be held vicariously liable under federal common law principles of agency for

     violations of either section 227(b) or section 227(c) that are committed by third-party

     telemarketers.” In the Matter of the Joint Petition Filed by Dish Network, LLC, 28 FCC Rcd.

     6574, 6574 (2013).

            13.     The FCC has also confirmed that a party can be vicariously liable for

     autodialed calls that are placed by third parties in violation of Section 227(b) of the TCPA

     and that subsection’s corresponding regulations. See In re Joint Pet. Filed by Dish Network,

     28 FCC Rcd. 6574 (2013). Accord, Jenkins v. National Grid USA, No. 15-cv-1219, 2017 WL

     1208445, *3 (E.D.N.Y. Mar. 31, 2017); McCabe v. Caribbean Cruise Line, Inc., No. 13-cv-

     6131, 2014 WL 3014874, *3 (E.D.N.Y. July 3, 2014).

            14.     Defendant’s calls and text messages forced Plaintiff and other similarly situated

     class members to live without the utility of their cellular phones by occupying their cellular

     telephones with one or more unwanted calls, causing a nuisance and lost time.

            15.     Plaintiff is informed and believes and here upon alleges, that the calls were

     made by Defendant and/or its agent(s), with Defendant’s permission, knowledge, control and

     for Defendant’s benefit.

            16.     Defendant’s calls annoyed and frustrated Plaintiff, distracted Plaintiff, and

     invaded Plaintiff’s privacy.

                                    CLASS ACTION ALLEGATIONS

            17.     Class Definitions: Plaintiff brings this Complaint against Defendant, pursuant




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     to Federal Rule of Civil Procedure 23, on behalf of himself and the following Classes:

                    National Telemarketing Class: All persons in the United States
                    who received two or more telemarketing calls or text messages
                    within any 12-month period on their residential telephone number
                    from Defendant or its agents who never provided their telephone
                    number to Defendant or any of its agents, from June 30, 2018
                    through the date the Court certifies the class.

                    Internal Do Not Call Class (“IDNC Class”): All persons in the
                    United States who received two or more telemarketing calls or text
                    messages within any 12-month period from Defendant or its agents
                    at least thirty-one (31) days after requesting to be placed on
                    Defendant’s do not call list or requesting that Defendant stop
                    calling them at any time from June 30, 2018 through the date the
                    Court certifies the class.

            18.     Excluded from the classes is Defendant, its affiliates, employees, officers and

     directors, persons or entities, and the Judge(s) assigned to this case. Plaintiff reserves the right

     to modify the class definitions if discovery and/or further investigation reveal that they should

     be expanded or otherwise modified.

            19.     There is a well-defined community of interest in the litigation and the classes

     are readily ascertainable.

            20.     Numerosity: Although the exact number of Class Members is uncertain and

     can only be ascertained through appropriate discovery, the number is great enough such that

     joinder is impracticable. The disposition of the claims of these Class Members in a single

     action will provide substantial benefits to all parties and to the Court. The Class Members

     are readily identifiable from information and records in Defendant’s possession, custody, or

     control.

            21.     Typicality: Plaintiff’s claims are typical of the claims of the other members of

     the classes. Plaintiff is not different in any relevant way from any other member of the

     classes, and the relief he seeks is common to each class.



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            22.      Commonality: Plaintiff’s and Class Members’ experiences receiving calls by

     or on behalf of Defendant are common. They received multiple, incessant, uninvited

     robocalls or text messages for the purposes of marketing Defendant’s products or services.

     The calls were made irrespective to whether Plaintiffs and Class Members were on the

     Internal Do Not Call List and their requests that the calls cease.

            23.      In addition, common questions of fact and law exist as to all members of the

     classes and predominate over the questions affecting only individual members of the classes.

     Identification of the individuals who qualify as a member of the classes will be sufficient to

     establish liability to the class member. The predominant common questions include:

                  a. Whether Defendant and/or its agents are engaged in telemarketing and the
                     calls at issue were made for the purpose of solicitation;

                  b. Whether Defendant’s dialing equipment is an automated system for the
                     selection or dialing of telephone numbers;

                  c. If an agent was utilized, whether Defendant is vicariously liable for its agents’
                     calls;

                  d. Whether Defendant and/or its agents had legally effective consent to place
                     telemarketing calls to Plaintiff and class members;

                  e. Whether Defendant and/or its agents instituted procedures and minimum
                     standards prescribed by 47 C.F.R. § 64.1200(d) for maintaining a list of
                     persons who request not to receive telemarketing calls made by or on behalf of
                     that person or entity;

                  f. Whether Plaintiff and Class Members are entitled to damages, including
                     whether Defendant’s violations were performed willfully or knowingly such
                     that Plaintiff and Class Members are entitled to treble damages;

                  g. Whether Plaintiff and Class Members are entitled to injunctive relief for
                     violations of their privacy and attorney’s fees and costs.

            24.      Adequacy: Plaintiff will fairly and adequately protect the interests of the

     Class Members. Plaintiff has retained attorneys experienced in the prosecution of class

     actions, including consumer and TCPA class actions, and Plaintiff intends to prosecute this



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     action vigorously.

            25.     Predominance and Superiority: The classes alleged in this Complaint are

     appropriate for certification because class proceedings are superior to all other available

     methods for the fair and efficient adjudication of this controversy, since joinder of all

     members is impracticable. The damages suffered by each individual member of the classes

     will likely be relatively small, especially given the burden and expense of individual

     prosecution of the complex litigation necessitated by Defendant’s actions. It would be

     virtually impossible for Class Members to individually obtain effective relief from

     Defendant’s misconduct. Even if Class Members themselves could sustain such individual

     litigation, it would still not be preferable to a class action, because individual litigation would

     increase the delay and expense to all parties due to the complex legal and factual

     controversies presented in this Complaint. By contrast, class actions present far fewer

     management difficulties and provide the benefits of single adjudication, economy of scale,

     and comprehensive supervision by a single Court. Economies of time, effort, and expense

     will be fostered and uniformity of decisions will be ensured.

            26.     Generally Applicable Policies: This class action is also appropriate for

     certification because Defendant has acted or refused to act on grounds generally applicable to

     the classes, thereby making appropriate final injunctive relief or corresponding declaratory

     relief with respect to each class as a whole. The policies of the Defendant challenged herein

     apply and affect members of each class uniformly, and Plaintiff’s challenge of these policies

     hinges on Defendant’s conduct, not on facts or law applicable only to Plaintiff.

            27.     Injunctive Relief is Appropriate: Based on information and belief, Defendant

     continues to engage in the improper practices discussed above. Injunctive relief is necessary




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     and appropriate to enjoin Defendant’s conduct and to prevent irreparable harm to Plaintiff

     and Class Members for which they have no adequate remedy at law. In particular, Plaintiff

     seeks the following specific relief:

                  a. Require Defendant to retain call and text message records;

                  b. Require Defendant to retain proof of any express consent to receive
                     telemarketing calls and text messages;

                  c. Require Defendant and its agents to cease making telemarketing calls and text
                     messages to any person that has not provided express consent to receive such
                     calls;

                  d. Require Defendant to maintain an internal do not call list and ensure that
                     neither Defendant, nor its agents, initiates phone calls or text messages to any
                     person on that list;

                  e. Prohibit Defendant from hiring telemarketers that do not comply with State
                     regulations to maintain a valid license, registration, and/or bond to call
                     customers/prospects residing in that state.

                  f. Prohibit Defendant from hiring telemarketers that do not comply with Federal
                     or State law and regulations.

     The presence of Plaintiff and other class members’ information on Defendant’s lead lists

     exposes them to further calls from Defendant and their agents in the future.

                                        VIOLATIONS ALLEGED

                                              COUNT I
                           Violations of the TCPA, 47 U.S.C. § 227 (c)(5)
       (Individually, and on Behalf of the National Telemarketing Class and the IDNC Class)

            28.      Plaintiff hereby incorporates by reference the allegations contained in all

     preceding paragraphs of this Complaint. Plaintiff asserts these claims on behalf of himself and

     members of the National Telemarketing Class and IDNC Class.

            29.      47 C.F.R. § 64.1200(d) provides that “[n]o person or entity shall initiate any call

     for telemarketing purposes to a residential telephone subscriber unless such person or entity

     has instituted procedures for maintaining a list of persons who request not to receive



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      telemarketing calls made by or on behalf of that person or entity. The procedures instituted

      must meet the following minimum standards:

             (1) Written policy. Persons or entities making calls for telemarketing purposes must
             have a written policy, available upon demand, for maintaining a do-not-call list.

             (2) Training of personnel engaged in telemarketing. Personnel engaged in any aspect of
             telemarketing must be informed and trained in the existence and use of the do-not-call
             list.

             (3) Recording, disclosure of do-not-call requests. If a person or entity making a call for
             telemarketing purposes (or on whose behalf such a call is made) receives a request from
             a residential telephone subscriber not to receive calls from that person or entity, the
             person or entity must record the request and place the subscriber's name, if provided,
             and telephone number on the do-not-call list at the time the request is made. Persons or
             entities making calls for telemarketing purposes (or on whose behalf such calls are
             made) must honor a residential subscriber's do-not-call request within a reasonable time
             from the date such request is made. This period may not exceed thirty days from the
             date of such request. . . .

             (4) Identification of sellers and telemarketers. A person or entity making a call for
             telemarketing purposes must provide the called party with the name of the individual
             caller, the name of the person or entity on whose behalf the call is being made, and a
             telephone number or address at which the person or entity may be contacted. The
             telephone number provided may not be a 900 number or any other number for which
             charges exceed local or long distance transmission charges.

             (5) Affiliated persons or entities. In the absence of a specific request by the subscriber
             to the contrary, a residential subscriber's do-not-call request shall apply to the particular
             business entity making the call (or on whose behalf a call is made), and will not apply
             to affiliated entities unless the consumer reasonably would expect them to be included
             given the identification of the caller and the product being advertised.”

             30.     The TCPA creates a private right of action for injunctive and monetary relief for

      any “person who has received more than one telephone call within any 12–month period by or

      on behalf of the same entity in violation of [e.g., 47 C.F.R. § 64.1200(d).]” 47 U.S.C. §

      227(c)(5). See also 47 C.F.R. § 64.1200(d)(3) (liability for company specific DNC list

      violations).

             31.     Defendant and its agents made more than one unsolicited telephone call to

      Plaintiff and members of the National Telemarketing Class and IDNC class within a 12-month


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      period in violation of 47 C.F.R. § 64.1200(d), and made such calls more than 31 days after

      Plaintiff and members of the IDNC class requested to be placed on Defendant’s internal do not

      call list.

               32.    Defendant did not institute minimum procedures required under 47 C.F.R. §

      64.1200(d); Defendant consistently fails to honor the requests of Plaintiff and other individuals

      to stop calling, and specifically to place their name and telephone number on Defendant’s

      internal do not call list and to otherwise maintain an adequate do not call policy required under

      47 C.F.R. § 64.1200(d).

               33.    Defendant and its agents violated 47 C.F.R. § 64.1200(d) by initiating calls for

      telemarketing purposes to wireless and wireline residential telephones of Plaintiff and members

      of the classes without instituting minimum procedures required under 47 C.F.R. § 64.1200(d).

               34.    Defendant willfully violated 47 C.F.R. § 64.1200(d). Defendant knew that it and

      its agents failed to institute minimum procedures for maintaining a list of persons who request

      not to receive telemarketing calls made by or on behalf of Defendant and that they repeatedly

      ignored and/or refused to honor Plaintiff’s and class members’ requests to be placed on an

      IDNC list.

               35.    Plaintiff, individually, and on behalf of the other members of the classes,

      seeks to recover statutory damages (including treble damages for willful violations), as well as

      injunctive and equitable relief under 47 U.S.C. § 227(c)(5) against Defendant.


                                           PRAYER FOR RELIEF

               WHEREFORE, Plaintiff, on behalf of himself and members of the Classes, respectfully

      requests that this Court enter judgment and order in their favor against Defendant as follows:

                      a.     An order certifying the proposed Classes, designating Plaintiff as named
                             representative of the Classes, and designating the undersigned as Class


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                            Counsel;

                    b.      Judgment against Defendant, and in favor of Plaintiff and the other Class
                            Members in the amount of $500 per violation of the TCPA as proven at
                            trial;

                    c.      Judgment against Defendant, and in favor of Plaintiff and the other Class
                            Members in the amount of $1,500 per knowing and willful violation of
                            the TCPA as proven at trial;

                    d.      Equitable and injunctive relief, including injunctions enjoining further
                            violations of the TCPA;

                    e.      An award of attorneys’ fees and costs, as allowed by law;

                    a.      An award of pre-judgment and post-judgment interest, as provided by
                            law;

                    b.      Leave to amend the Complaint to conform to the evidence produced
                            during discovery and at trial; and

                    c.      Such other relief as may be appropriate under the circumstances.

                                       DEMAND FOR JURY TRIAL
             Plaintiff hereby demands a trial by jury on all claims and issues so triable.


      Dated: July 7, 2022



                                    By:
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                             LOCAL CIVIL RULE 11.2 CERTIFICATION

         I hereby further certify that to the best of my knowledge, the matter in controversy is not

      the subject of any other action pending in any court or of any pending arbitration or

      administrative proceeding.


                                          MAZIE SLATER KATZ & FREEMAN, LLC
                                          Attorneys for Plaintiff




                                          MATTHEW R. MENDELSOHN

      Dated: July 7, 2022




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